       Case 8:12-bk-11225-TA Doc 73 Filed 11/17/15 Entered 11/17/15 14:08:05                                           Desc
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                                         United States Bankruptcy Court
                                           Central District of California
                                411 West Fourth Street, Suite 2030, Santa Ana, CA 92701−4593

                              DISCHARGE OF DEBTOR AFTER COMPLETION
                                       OF CHAPTER 13 PLAN
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 8:12−bk−11225−TA
    Pablo Alberto Sarabia
    aka Pablo Sarabia, aka Pabo A. Sarabia Jr.                               CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−2461
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Discharge Date: 11/17/15


    JOINT DEBTOR INFORMATION:
    Diana Felix Sarabia
    aka Diana Felix, aka Diana Felix Camarena
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−6849
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Joint Debtor Discharge Date: 11/17/15
    Address:
    3614 Starling Way
    Brea, CA 92823


It appearing that the debtor is entitled to a discharge,
IT IS ORDERED:

The debtor is granted a discharge under section 1328(a) of title 11, United States Code, (the Bankruptcy Code).




                                                                                  BY THE COURT,


Dated: November 17, 2015                                                          Kathleen J. Campbell
                                                                                  Clerk of the Court




                              SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION. *




 ____________________________________________________________________________________________
* Set forth all names, including trade names, used by the debtor(s) within the last 8 years. For joint debtors, set forth the last
four digits of both social−security numbers or individual taxpayer−identification numbers.




(Form B18W−doa3 Rev. 03/09)                                                                                                  73 / JLL
      Case 8:12-bk-11225-TA Doc 73 Filed 11/17/15 Entered 11/17/15 14:08:05                                  Desc
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                EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 13 CASE

     This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts That are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

     a.  Domestic support obligations;
     b.  Debts for most student loans;
     c.  Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
     d.  Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
         while intoxicated;
     e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or
         willful injury by the debtor that caused personal injury to an individual or the death of an individual (in a
         case filed on or after October 17, 2005);
      f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
         after the date on which the final payment under the plan was due;
     g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
         trustee of the debtor's incurring the debt was practicable but was not obtained;
     h. Debts for certain taxes to the extent not paid in full under the plan (in a case filed on or after October 17,
         2005); and
      i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).
       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
